Case 5:20-cv-02407-SB-PVC Document 22 Filed 11/08/21 Page 1 of 1 Page ID #:1291



   1
                                                                   JS-6
   2
   3
   4
   5
   6
   7
   8                         UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
  10
  11   JOSE R. ROBLES,                             Case No. EDCV 20-2407 SB (PVC)
  12                      Petitioner,
                                                                JUDGMENT
  13         v.
  14   R. GODWIN, Warden,
  15                      Respondent.
  16
  17         Pursuant to the Court’s Order Accepting Findings, Conclusions and
  18   Recommendations of United States Magistrate Judge,
  19
  20         IT IS HEREBY ADJUDGED that the above-captioned action is dismissed with
  21   prejudice.
  22
       Dated: November 8, 2021
  23
  24
  25                                                   Stanley Blumenfeld, Jr.
                                                      United States District Judge
  26
  27
  28
